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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



 UNITED STATES OF AMERICA,                       Criminal No. 07-189 (3) (JRT/JSM)

                            Plaintiff,
                                                              ORDER
 v.

 MARCHELLO DION JEFFERSON,

                            Defendant.



        W. Anders Folk, Assistant United States Attorney, OFFICE OF THE
        UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
        Minneapolis, MN 55415, for plaintiff.

        Marchello Dion Jefferson, #11175-041, FCI – Fort Dix, Post Office Box
        2000, Fort Dix, NJ 08640, pro se defendant.


       The defendant has filed a pro se motion for relief [Docket No. 989]. IT IS HEREBY

ORDERED that the government shall respond to said motion by July 26, 2010.



Dated: July 12, 2010
at Minneapolis, Minnesota                          s/ John R. Tunheim
                                                 JOHN R. TUNHEIM
                                               United States District Judge
